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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


BIOGEN INTERNATIONAL GMBH                          )
and BIOGEN MA INC.,                                )
                                                   )     REDACTED PUBLIC VERSION
                        Plaintiffs,                )
                                                   )
         v.                                        )
                                                   )     C.A. No. 17-823-LPS
SAWAI USA, INC.                                    )     (CONSOLIDATED)
and SAWAI PHARMACEUTICAL CO.,                      )
LTD.,                                              )     C.A. No. 17-875-LPS
                                                   )
                        Defendants.                )


                   STIPULATION AND ORDER OF PARTIAL DISMISSAL
                              (Biogen et al. v Sawai et al.)

         Pursuant to Rule 41(a)(1)(ii) and (c) of the Federal Rules of Civil Procedure, Biogen

International GmbH and Biogen MA Inc. (collectively, “Plaintiffs”) and Sawai USA Inc. and Sawai

Pharmaceutical Co., Ltd. (together, “Sawai”),



                                                       , stipulate and agree, through their respective

counsel and subject to the Court’s approval, as follows:

         1.      All claims and defenses of Plaintiffs relating to the ’001 Patent in the Sawai Action

                 are dismissed without prejudice; and,

         2.      All counterclaims and defenses of Sawai relating to the ’001 Patent in the Sawai

                 Action are dismissed without prejudice.

         The Plaintiffs and Sawai waive any right to appeal or otherwise move for relief from this

Stipulation and Order of Dismissal, and each party shall bear its own attorneys’ fees and costs.

         The Plaintiffs and Sawai further stipulate that this Court has jurisdiction over them for the



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purposes of enforcing this Stipulation and Order of Dismissal

                 .

         Accordingly, pursuant to the above Stipulation, and upon the consent and request of

Plaintiffs and Sawai, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

         1.          All claims and defenses of Plaintiffs relating to the ’001 Patent in the Sawai Action

are dismissed without prejudice. All counterclaims and defenses of Sawai relating to the ’001

Patent in the Sawai Action are dismissed without prejudice.

         2.          The Plaintiffs and Sawai have waived any right to appeal or otherwise move for

relief from this Stipulation and Order of Dismissal.

         3.          This Court has jurisdiction over the Plaintiffs and Sawai for the purposes of

enforcing this Stipulation and Order of Dismissal                                                    .

         4.          Each party shall bear its own attorneys’ fees and costs.


 ASHBY & GEDDES                                         HEYMAN ENERIO
                                                        GATTUSO & HIRZEL LLP


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 Attorneys for Plaintiffs




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         SO ORDERED, this    day of November, 2019.




                             Chief Judge




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